Case 8:21-cv-01834-CJC-DFM Document 10 Filed 11/09/21 Pageiof1i Page ID #:56

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. 8:21-cv-01834-CJC-DFM Date November 9, 2021

 

 

Title David D. Gagnier v. Siteone Landscape Supply LLC

 

PRESENT: HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

 

 

 

Rolls Royce Paschal None Present
Deputy Clerk Court Reporter

Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present

PROCEEDINGS: (INCHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR
LACK OF PROSECUTION (REMOVAL)

This action was removed to this Court on October 29, 2021. Pursuant to Rule 81 of the
Federal Rules of Civil Procedure, a response to the Complaint is due the later of 21 days after
receiving a copy of the initial pleading, 21 days after being served with the summons, or 7 days
after the notice of removal is filed. No response has been filed. Accordingly, Plaintiff is ordered
to show cause in writing on or before November 11, 2021 why this action should not be
dismissed for lack of prosecution. As an alternative to a written response by Plaintiff, the Court
will consider as an appropriate response to this OSC the filing of one of the following on or
before the above date:

1. Aresponse to the Complaint by all Defendants;

2. An application for the entry of default pursuant to Rule 55 of the Federal Rules of
Civil Procedure, as to all Defendants, or

3. A Notice of Voluntary Dismissal as to all Defendants.

No oral argument of this matter will be heard unless ordered by the Court. The Order
will stand submitted upon the filing of a timely and appropriate response. Failure to respond to
this Order may result in dismissal.

 

Initials of Deputy Clerk = rrp

 

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 1 of 1
